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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                       TEXARKANA DIVISION

       HEALTH CHOICE GROUP, LLC,                            Civil Action No.: 5:17-CV-126-RWS-CMC

                 Plaintiffs/Relator,
       v.                                                   Civil Action No.: 5:17-CV-123-RWS-CMC
       BAYER CORPORATION, et al.,

                Defendants.

       HEALTH CHOICE ALLIANCE, LLC,

                 Plaintiffs/Relator,

       v.

       ELI LILLY AND COMPANY, INC., et al.,

                Defendants.


        ORDER ON RELATORS’ UNOPPOSED MOTION FOR LEAVE TO EXTEND PAGE
                     LIMITS AND MODIFY BRIEFING SCHEDULE

                Before the Court is Relators Health Choice Group, LLC’s and Health Choice Alliance,
.
       LLC’s Unopposed Motion for Leave to Extend Page Limits and Modify Briefing Schedule. Upon

       due consideration, the Court finds the motion (D.I. 207 in 5:17cv123, D.I. 121 in 5:17cv126)

       should be GRANTED. It is

                ORDERED the page limits set forth in the Local Rules for (i) Relators’

       responses; (ii) the government’s replies; and (iii) Relators’ surreplies are each enlarged by 20

       pages.

                Further, the Court modifies the briefing schedule on the government’s motions such that

       (i) the government’s replies are now due on or before February 18, 2019; and (ii) the Relators’
        SIGNED this 23rd day of January, 2019.
       surreplies are now due on March 4, 2019.




                                                    ____________________________________
                                                    CAROLINE M. CRAVEN
                                                    UNITED STATES MAGISTRATE JUDGE
